336 F.2d 603
    CESSNA AIRCRAFT COMPANY, Appellant,v.Josiah Lawrence FOCHT, and Southwestern Skyways, Inc., acorporation, Appellees.CESSNA AIRCRAFT COMPANY, Appellant,v.Joseph Kenmuir FICKLIN, Jr., and Southwestern Skyways, Inc.,Appellees.
    Nos. 7554, 7555.
    United States Court of Appeals Tenth Circuit.
    Sept. 9, 1964, Rehearing Denied Oct. 19, 1964.
    
      W. Robert Ward, Denver, Colo.  (H. Gayle Weller, Denver, Colo., with him on brief), for appellant.
      George M. McClure and Don R. Evans, Denver, Colo., for appellees.
      Before MURRAH, Chief Judge, and BREITENSTEIN and SETH, Circuit Judges.
      PER CURIAM.
    
    
      1
      The question presented by these interlocutory appeals is (1) whether at the time of the attempted service of summons on one of the stockholders of the appellant-foreign corporation, it was doing business in the State of Colorado, hence amenable to the juridiction of the courts in that State; and (2) if so, whether in the circumstances the service of the summons on the resident stockholder is in the 'manner prescribed' by Colorado law.  See F.R.Civ.P. 4(d) (7).
    
    
      2
      Colorado law on the subject is admittedly controlling, and the trial judge, a former Justice of the Supreme Court of Colorado, has analyzed the decisions, based upon the universally accepted general rule.  The trial court concluded that the appellant was doing business in the State of Colorado and amenable to service of process.  The Court also construed the applicable Colorado Rules of Civil Procedure (4(e)(5)) to authorize service on the appellant's resident stockholder.  See Focht v. Southwestern Skyways, D.C., 220 F.Supp. 441.
    
    
      3
      We accept the trial court's interpretation of Colorado law, and the judgment is affirmed for the reasons stated in its reported decision.  Cf. Massey-Ferguson Ltd. v. Intermountain Ford Tractor Sales Co., et al., 10 Cir., 325 F.2d 713.
    
    
      4
      SETH, Circuit Judge, dissents.
    
    